Case 3:10-cv-03561-WHA Document 83 Filed 02/08/11 Page 1 of 2

DONALD F. ZIMMER, JR. (SBN 112279)
fzimmer@kslaw.com

CHERYL A. SABNIS (SBN 224323)
csabnis@kslaw.com

KING & SPALDING LLP

101 Second Street - Suite 2300

San Francisco, CA 94105

Telephone: (415) 318-1200

Facsimile: (415) 318-1300

SCOTT T. WEINGAERTNER (Pro Hac Vice)
sweingaertner@kslaw.com
ROBERT F. PERRY
rperry@kslaw.com

BRUCE W. BABER (Pro Hac Vice)
bbaber@kslaw.com

KING & SPALDING LLP

1185 Avenue of the Americas

New York, NY 10036-4003
Telephone: (212) 556-2100
Facsimile: (212) 556-2222

RENNY F. HWANG (SBN 241114)
rennyhwang@google.com

Google Inc.

1600 Amphitheatre Parkway
Mountain View, CA 94043
Telephone (650) 253-2551
Facsimile: (650) 618-1806

Attorneys for Defendant
GOOGLE INC.

UNITED STATES DISTRICT COURT FOR THE

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

ORACLE AMERICA, INC.,
Plaintiff,
Vv.

GOOGLE INC.,

Defendant.

 

 

Case No. 3:10-cv-03561-WHA
Honorable Judge William Alsup

NOTICE OF APPEARANCE OF
COUNSEL OF RENNY F. HWANG

 

 

 

NOTICE OF APPEARANCE OF COUNSEL OF RENNY HWANG

CIVIL ACTION NO. CV10-03561

 
Case 3:10-cv-03561-WHA Document 83 Filed 02/08/11 Page 2 of 2

NOTICE OF APPEARANCE OF COUNSEL
OF RENNY F. HWANG
TO THE COURT, PLAINTIFF, AND ITS ATTORNEYS OF RECORD:

— nN Nn

 

 

Renny F. Hwang, in-house counsel for Google Inc., hereby enters his appearance as

counsel for Defendant Google Inc., in the above action, and requests notice of all hearings and

other proceedings in the action and service of all orders, pleadings and other papers.

Respectfully submitted this 7th day of February, 2011.

DATED: February 7, 2011

NOTICE OF APPEARANCE OF COUNSEL OF RENNY HWANG

KING & SPALDING LLP

By: _/s/ Cheryl A. Sabnis

SCOTT T. WEINGAERTNER (Pro Hac Vice)
sweingaertner@kslaw.com

ROBERT F. PERRY

rperry@kslaw.com

BRUCE W. BABER

bbaber@kslaw.com

1185 Avenue of the Americas

New York, NY 10036-4003

Telephone: (212) 556-2100

Facsimile: (212) 556-2222

DONALD F. ZIMMER, JR. (SBN 112279)
fzimmer@kslaw.com

CHERYL A. SABNIS (SBN 224323)
csabnis@kslaw.com

KING & SPALDING LLP

101 Second Street - Suite 2300

San Francisco, CA 94105

Telephone: (415) 318-1200

Facsimile: (415) 318-1300

RENNY F. HWANG (SBN 241114)
rennyhwang@google.com

Google Inc.

1600 Amphitheatre Parkway
Mountain View, CA 94043
Telephone (650) 253-2551
Facsimile: (650) 618-1806

ATTORNEYS FOR DEFENDANT
GOOGLE INC.

2

CIVIL ACTION NO. CV10-03561

 
